     Case 2:11-cr-00088-LRS   ECF No. 55   filed 07/07/11   PageID.115 Page 1 of 1




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 4
                            UNITED STATES DISTRICT COURT
 5                         EASTERN DISTRICT OF WASHINGTON
 6
      UNITED STATES OF AMERICA,                )     No. CR-11–088-LRS-1
 7                                             )
                   Plaintiff,                  )     ORDER GRANTING
 8                                             )     MOTION TO MODIFY
      v.                                       )     (ECF No. 42)
 9                                             )
      EDWARD AUSTIN BALES,                     )
10                                             )
                   Defendant.                  )
11                                             )
                                               )
12                                             )

13         Defendant seeks release into inpatient treatment.             (ECF No. 42.)

14   A confirmed bed date is available with SPARC for July 12, 2011.

15   Defendant is 21 years old, has a criminal history, an outstanding

16   warrant and unknown family or community ties.               In light of his age

17   and other circumstances discussed at the hearing, and if Defendant

18   resolves the warrant matter prior to July 12, 2011, the undersigned

19   will    permit   Defendant   to   enter       inpatient   treatment,     provided,

20   however,    if   he   successfully    completes        treatment,   he   shall   go

21   directly to a halfway house such as Oxford House.                   If a halfway

22   house is unavailable, Defendant shall immediately return to jail.

23   A separate order memorializing the other conditions of release will

24   be filed on this date.

25         DATED July 7, 2011.

26
27                              S/ CYNTHIA IMBROGNO
                           UNITED STATES MAGISTRATE JUDGE
28


     ORDER GRANTING MOTION TO MODIFY - 1
